             Case 2:05-cr-00447-GEB Document 51 Filed 11/03/06 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    Designated Counsel for Service
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone (916) 498-5700
4
5    Attorney for Defendant
     JESUS HUERTA
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     No. CR-S-05-447 GEB
                                      )
12                    Plaintiff,      )     STIPULATION AND [PROPOSED]
                                      )     ORDER CONTINUING STATUS
13          v.                        )     CONFERENCE AND EXCLUDING TIME
                                      )
14   JESUS HUERTA, et al.,            )
                                      )     Date: December 1, 2006
15                    Defendants.     )     Time: 9:00 a.m.
                                      )     Judge: Garland E. Burrell, Jr.
16                                    )
17
18           It is hereby stipulated between the parties, Matthew Stegman,
19   Assistant United States Attorney, attorney for Plaintiff; Timothy E.
20   Warriner, attorney for defendant, ROSA ISELA HUERTA; and Daniel J.
21   Broderick, attorney for defendant, JESUS HUERTA, that the status
22   conference presently scheduled for November 3, 2006 be vacated and a
23   new status conference hearing date of December 1, 2006 at 9:00 a.m. be
24   set.
25          The parties continue evaluating additional information provided by
26   the defendants in relation to this case.         The parties have had
27   preliminary discussions regarding resolution.          Before the case
28   resolves, however, both parties have tasks to complete including, by
              Case 2:05-cr-00447-GEB Document 51 Filed 11/03/06 Page 2 of 3


1    the defense, additional factual investigation that may bear on the
2    resolution. Once all these tasks are completed, the defense will need
3    time to review a final plea agreement.
4          The parties, through their respective counsel, hereby stipulate
5    and agree that the status conference currently scheduled for
6    November 3, 2006 be continued until December 1, 2006, at 9:00 a.m.
7          The parties further stipulate and agree that the time period
8    between November 3, 2006 and December 1, 2006 be excluded under the
9    Speedy Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due
10   to the need to provide defense counsel with the reasonable time to
11   prepare.
12   Dated: October 19, 2006
13                                             Respectfully submitted,
14
                                               /s/ Daniel J. Broderick
15                                             ________________________________
                                               DANIEL J. BRODERICK
16                                             Federal Defender
                                               Attorney for Defendant
17                                             JESUS HUERTA
18
                                               /s/ Daniel J. Broderick for
19                                             ________________________________
                                               TIMOTHY E. WARRINER, ESQ.
20                                             Attorney for Defendant
                                               ROSA ISELA HUERTA
21
22   Dated:    October 19, 2006                MCGREGOR W. SCOTT
                                               United States Attorney
23
24                                             /s/ Daniel J. Broderick for
                                               _________________________________
25                                             MATTHEW STEGMAN
                                               Assistant U.S. Attorney
26                                             Attorneys for Plaintiff
27                                 ------------
28         Pursuant to the stipulation filed by the parties, and for the


     Stip. Continuing Status Conference        2
              Case 2:05-cr-00447-GEB Document 51 Filed 11/03/06 Page 3 of 3


1    reasons stated therein, IT IS HEREBY ORDERED that the status conference
2    currently scheduled for November 3, 2006, be continued until
3    December 1, 2006 at 9:00 a.m.
4          IT IS FURTHER ORDERED that the time period between November 3,
5    2006 and December 1, 2006, be excluded under the Speedy Trial Act (18
6    U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to
7    provide defense counsel with the reasonable time to prepare.
8    Dated:    November 3, 2006
9
10                                        GARLAND E. BURRELL, JR.
11                                        United States District Judge

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     Stip. Continuing Status Conference        3
